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                EXHIBIT A
                   Case 4:20-mc-80044-DMR Document 1-1 Filed 02/14/20 Page 2 of 5


 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                  NORTHERN DISTRICT OF CALIFORNIA


In Re DMCA Subpoena to Reddit, Inc.                                            )
                               Plaintiff
                                                                               )
                                   V,
                                                                               )       Civi l Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To : Copyright Agent/ Redd it, Inc., 420 Taylor Street, San Francisco, CA 94 102

                                                        (Name ofperson to whom this subpoena is directed)

      ISi Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:
 Information, including name(s), address(es), telephone number(s), e-mai l address(es), and IP address(es) sufficient to
 identify the individual(s) responsible for posting content under the username "Assyrian24 l O" at the following URL :
 https://www.reddit.com/r/modernwarfare/comments/f2ifa7/i_found_this_image_online_ not_sure_what_it_is/?utm _ sourc
 e=share&utm medium=ios app&utm name=iossmf
  Place : First Legal Records Support Services                        Date and Time:
            I 2 South First Street, Suite 224                         February 28, 2020 at 10:00 am
            San Jose, CA 95113 Telephone: 408-287-9711

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


 IPlace                                                                                IDate and Time:

         The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45( c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), re lating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date: 2/ 14/2020

                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                          A tlorney 's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) _ _ _ _ _ _ __
Activision Publishing, Inc.                                             , who issues or requests this subpoena, are:
Marc E. Mayer/ Mitchell Silberberg & Knupp LLP / 2049 Century Park East, 18th Floor, Los Angeles, CA 90067 I
Telephone: 310-312-2000



                                                                                                                                     American LegalNet, Inc.   h
                                                                                                                                     www. FormsWorkFl ow.com . , .
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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                    Americ an LegalNel, Inc.   A
                                                                                                                                    www.Fo rmsWorkFlow.com ~
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AO 88B (Rev. 02/ 14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, ifany) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
on (date)


         D     I served the subpoena by delivering a copy to the named person as follows:


         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on {date) _ _ _ _ _ _ _ _ _ ; or

        0      I returned the subpoena unexecuted because:
                                                                           -------------------------


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
          $ _ _ _ _ _ _ _ __


My fees are $ _ _ _ _ _ _ _ _ for travel and $ _ _ _ _ _ _ _ _ for services, for a total of$ _0_.0_0_ _ _ _ _ __



          I declare under penalty of pe1jury that this information is true.


Date: - - - -- - - -
                                                                                                      Server 's signature



                                                                                                   Printed name and title




                                                                                                       Server 's address


Additional information regarding attempted service, etc.:




                                                                                                                                                                      1A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert' s
  (I) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial , hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party ' s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored infonnation, or               (I) Producing Documents or Electronically Stored /11/ormation. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and 1                        information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  111 ust produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form/or Producing Electronically Stored Information Not Specified.
 (I) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         in fonnation, the person responding must produce it in a form or fonns in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney ' s fees-{)n a party or attorney who        information in more than one fonn.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored infonnation
  (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the infonnation is not
pennit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery .
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-{)r to          (A) Information Withheld. A person withholding subpoenaed infonnation
producing electronically stored information in the fonn or forms requested .     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for        material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an          privileged or protected, will enable the parties to assess the claim .
order compelling production or inspection.                                         (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from    trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                   that received the information of the claim and the basis for it. After being
                                                                                 notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                           information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion , the court for the district where         until the claim is resolved ; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                             present the infomiation under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits             compliance is required for a detennination of the claim. The person who
specified in Rule 45(c);                                                         produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                     (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on        motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena ifit requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research ,             subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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